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                                   5                                UNITED STATES DISTRICT COURT

                                   6                               NORTHERN DISTRICT OF CALIFORNIA

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                                   8   ROBERT ROSS,                                   Case No. 19-cv-06669-JST
                                                      Plaintiff,
                                   9
                                                                                      REVISED SCHEDULING ORDER
                                                 v.
                                  10

                                  11   AT&T MOBILITY, LLC,
                                                      Defendant.
                                  12
Northern District of California
 United States District Court




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                                  14       The Court hereby sets the following revised case deadlines:

                                  15
                                                                        Event                                  Deadline
                                  16
                                         Fact discovery cut-off                                          December 23, 2021
                                  17
                                                                                                         To be set by separate
                                  18     Mediation deadline
                                                                                                         order
                                  19
                                         Expert disclosures                                              January 6, 2022
                                  20
                                         Expert rebuttal                                                 February 10, 2022
                                  21
                                         Expert discovery cut-off                                        March 1, 2022
                                  22

                                  23     Deadline to file dispositive motions                            March 29, 2022

                                  24     Pretrial conference statement due                               July 15, 2022

                                  25                                                                     July 22, 2022 at 2:00
                                         Pretrial conference
                                                                                                         p.m.
                                  26
                                                                                                         August 15, 2022 at
                                  27     Trial
                                                                                                         8:00 a.m.
                                  28
                                          Case 4:19-cv-06669-JST Document 95 Filed 04/21/21 Page 2 of 2




                                   1                                     Event                            Deadline

                                   2       Estimate of trial length (in days)                       Ten
                                   3
                                             IT IS SO ORDERED.
                                   4
                                       Dated: April 21, 2021
                                   5                                             ______________________________________
                                                                                               JON S. TIGAR
                                   6                                                     United States District Judge
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                                  12
Northern District of California
 United States District Court




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